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       IN THE UNITED STATES DISTRICT COURT FOR THE
              WESTERN DISTRICT OF OKLAHOMA

UNIVERSITAS EDUCATION, LLC,        )
                                   )
     Petitioner/Judgment Creditor, )
                                   )
v.                                 )
                                   )
AVON CAPITAL, LLC,                 )
                                   )
     Respondent/Judgment Debtor,   )
                                   )
ASSET SERVICING GROUP, LLC,        )
                                   )
                                                   Case No. 14-FJ-05-HE
     Respondent/Garnishee,         )
                                   )
SDM HOLDINGS, LLC,                 )
                                   )
     Respondent/Garnishee,         )
                                   )
and                                )
                                   )
AVON CAPITAL, LLC, a Wyoming )
Limited Liability Company,         )
                                   )
     Intervenor.                   )


                 REPORT AND RECOMMENDATION

     Pending before the Court is Petitioner Universitas Education’s

(Petitioner) Renewed Motion for Contempt and to Compel SDM Holdings, LLC

to Comply with this Court’s Order and Related Amended Subpoena. Doc. 98

(Motion for Contempt). Chief District Court Judge Joe Heaton referred all

post-judgement collection matters to the undersigned Magistrate Judge
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pursuant to 28 U.S.C. § 636(b)(3). Doc. 8. After multiple continuations, a show

cause hearing was scheduled for September 20, 2018. See Doc. 122.

      On June 26, 2018, Petitioner’s counsel, Paula K. Colbath of the firm Loeb

& Loeb moved to withdraw as counsel of record, Doc. 123, which the Court

granted, Doc. 124. On September 18, 2018, Lysbeth L. George and Judy

Hamilton Morse of the law firm Crowe & Dunlevy, P.C., moved to withdraw as

counsel of record for Petitioner and to continue the show cause hearing, Doc.

125, which the Court granted, Doc. 126. In its motion to withdraw, Petitioner’s

counsel represented that Petitioner was in the process of hiring new counsel to

represent them in this matter and that Petitioner had received direct

notification of counsel’s intent to withdraw. See Doc. 125, at 1-2.

      In its order granting leave for the withdrawal of Petitioner’s counsel and

continuance of the show cause hearing, the Court cautioned Petitioner that its

failure to appear by other counsel on or before October 18, 2018, would “in all

likelihood result in the dismissal of this action.” Doc. 126, at 2. To date,

Petitioner has not appeared by other counsel nor shown cause for its failure to

do so. Based on Petitioner’s failure to comply with this Court’s order, the

undersigned recommends the dismissal without prejudice of this action.

I.    Analysis.

      Under Fed. R. Civ. P. 41(b), the court may dismiss an action if the

plaintiff “fails to prosecute or to comply with these rules or a court order[.]”

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Fed. R. Civ. P. 41(b); see also Huggins v. S. Ct. of the U.S., 480 F. App’x 915,

916-17 (10th Cir. 2012) (noting that Rule 41(b) has been “consistently

interpreted . . . to permit courts to dismiss actions sua sponte . . . .” (citation

omitted)); AdvantEdge Bus. Grp. v. Thomas E. Mestmaker & Assocs., Inc., 552

F.3d 1233, 1236 (10th Cir. 2009) (“‘A district court undoubtedly has discretion

to sanction a party for failing to prosecute or defend a case, or for failing to

comply with local or federal procedural rules.’” (citation omitted)). And, if

dismissal is without prejudice, the court may enter such an order without first

considering a “non-exhaustive list of factors.” AdvantEdge Bus. Grp., 552 F.3d

at 1236 & n.2.

      Petitioner has not complied with this Court’s order and has not provided

a reason for its noncompliance. This Court has provided Petitioner sufficient

notice of the possibility of dismissal and Petitioner’s failures have left the

Court without the ability “to achieve an orderly and expeditious” resolution of

the action. Link v. Wabash R.R. Co., 370 U.S. 626, 630-31 (1962) (discussing

the inherent power of a court to dismiss suits for lack of prosecution).

II.   Recommendation and notice of right to object.

      For the reasons set forth above, the undersigned recommends the Court

dismiss this action without prejudice. Adoption of this recommendation would

moot Petitioner’s pending motions, Docs. 40, 98.



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        The parties are advised of their right to file an objection to the report and

recommendation with the Clerk of this Court on or before November 23, 2018,

in accordance with 28 U.S.C. § 636 and Fed. R. Civ. P. 72. The parties are

further advised that failure to make a timely objection to the report and

recommendation waives the right to appellate review of both factual and legal

questions contained herein. See Moore v. United States, 950 F.2d 656, 659

(10th Cir. 1991).

        This report and recommendation terminates the referral in the present

case.

        ENTERED this 1st day of November, 2018.




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